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               UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF FLORIDA

JOHN DOE #1-#14 and JANE DOE #1-#2, )
                                        )
             Plaintiffs,                )
      vs.                               )
                                        )
LLOYD AUSTIN, III, in his official      )
capacity as Secretary of Defense, U.S.  )
Department of Defense                   )
                                        )
XAVIER BECERRA, in his official         )
capacity as Secretary of the U.S.       )
Department of Health and Human          )
Services,                               )
                                        )
                                             COMPLAINT FOR
FRANK KENDALL, in his official          )
                                             DECLARATORY AND
capacity as Secretary of the Air Force, )
                                             INJUNCTIVE RELIEF
Department of the Air Force,            )
                                        )
                                             JURY TRIAL DEMANDED
CARLOS DEL TORO, in his official        )
capacity as Secretary of the Navy,      )
Department of the Navy,                 )
                                        )
JANET WOODCOCK, in her official         )
capacity as Acting Commissioner of the  )
U.S. Food and Drug Administration, and  )
                                        )
CHRISTINE WORMUTH, in her official )
capacity as Secretary of the Army,      )
Department of the Army,                 )
                                        )
             Defendants.                )


                      EX. 1: LIST OF EXHIBITS
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                                           LIST OF EXHIBITS

EXHIBIT 1: List of Exhibits

EXHIBIT 2: “Memorandum for Senior Pentagon Leadership, Mandatory Coronavirus Disease 2019 Vaccination
of Department of Defense Service Members” (Aug. 24, 2021) (“DOD Mandate”).

EXHIBIT 3: FDA, BL 125742/0, Comirnaty Vaccine BLA Approval (Aug. 23, 2021) (“Comirnaty Approval
Letter”).

EXHIBIT 4: FDA, Summary Basis of Regulatory Action, BLA 125742/0 at 27 (Aug. 23, 2021) (“Comirnaty
SBRA”).

EXHIBIT 5: FDA, Pfizer-BioNTech EUA Letter (Aug. 23, 2021) (“BioNTech EUA Expansion Letter”).

EXHIBIT 6: Dept. of the Air Force, Deputy Director of Staff for COVID-19, “COVID-19 Mandatory Vaccination
Implementation Guidance for Service Members” (Sept. 3, 2021) (“Air Force Guidance”).

EXHIBIT 7: Army Public Affairs, Army Announces Implementation of Mandatory Vaccines for Soldiers (Sept.
14, 2021) (“Army Guidance”).

EXHIBIT 8: MARADMIN, “Mandatory COVID-19 Vaccination of Marine Corps Active and Reserve
Components” (Sept. 1, 2021) (“Marine Corps Guidance”).

EXHIBIT 9: Secretary of the Navy, “2021-2022 Department of Navy Mandatory COVID-19 Vaccination Policy,”
ALNAV 062/21 (Aug. 30, 2021) (“Navy Guidance”).

EXHIBIT 10: FDA, HHS & CBER, Development and Licensure of Vaccines to Prevent COVID-19: Guidance
for Industry (June 2020) (“June 2020 Industry Guidance”).

EXHIBIT 11: Coalition Advocating for Adequately Licensed Medicines, Citizen Petition (July 5, 2021), FDA
Docket No. FDA-2021-P-0786 (“Citizen Petition”).

EXHIBIT 12: FDA, Response Letter to Coalition Advocating for Adequately Licensed Medicines, Citizen
Petition (Aug. 23, 2021), FDA Docket No. FDA-2021-P-0786 (“FDA CP Response”).

EXHIBIT 13: FDA, “Fact Sheet for Health Care Providers Administering Vaccine (Vaccination Providers),”
(Aug. 23, 2021) (“BioNTech/Comirnaty Vaccine Fact Sheet”).

EXHIBIT 14: Israel Ministry of Health Presentation (July 23, 2021).

EXHIBIT 15: Sara Oliver MD, MSPH, Updates to COVID-19 Epidemiology and COVID-19 Vaccines,
Presentation to September 17, 2021 VRBPAC Meeting (Sept. 17, 2021).

EXHIBIT 16: The FDA COVID-19 Drug Approval Process Remdesivir vs Ivermectin.

EXHIBIT 17: Expert Witness Affidavit of Jane Ruby, PhD, EdD, MS, NP

EXHIBIT 18: Plaintiff Declarations (Signatures Redacted)

EXHIBIT 19: VAERS Drug Adverse Event Comparison Chart
